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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION

UNITED STATES OF AMERICA, ) Case No. 1:06CR0199
|
Plaintiff, )
) Judge David D. Dowd, Jr.
Vv. —)
)
BRAD W. STEILING, )
) PLEA AGREEMENT
Defendant. )

Pursuant to Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure, and in
consideration of the mutual promises set forth below, the United States Attorney’s Office
for the Northern District of Ohio (hereinafter “USAO”), by and through its undersigned

attorney, and the defendant, BRAD W. STEILING (hereinafter “Defendant”), agree as

follows:

plea.agreement.wpd Defendant ’s Initials: ZBL

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MAXIMUM PENALTIES AND OTHER
CONSEQUENCES OF PLEADING GUILTY

1. Waiver of Constitutional Trial Rights. Defendant understands that
Defendant has the right to plead not guilty and go to trial. At trial, Defendant would be
presumed innocent, have the right to trial by jury or the Court, with the consent of the
United States, the right to the assistance of counsel, the right to confront and cross-
examine adverse witnesses and subpoena witnesses to testify for the defense, and the right
against compelled self-incrimination. Defendant understands that Defendant has the right
to an attorney at every stage of the proceeding and, if necessary, one will be appointed to
represent Defendant. Defendant understands that, if Defendant pleads guilty and that plea
is accepted by the Court, there will not be a further trial of any kind, so that by pleading
guilty Defendant waives the right to a trial.

2. Maximum Sentence. The statutory maximum sentence(s) for the count(s)

to which Defendant agrees to plead guilty is/are as follows:

Count Statute Maximum sentence per count

1 18 U.S.C. § 2422(b) Imprisonment:30 years
Fine: $250,000.00
Supervised release: Life

2 18 U.S.C. § 2241(c) Imprisonment: Life
Fine: $250,000.00
Supervised release: Life

plea.agreement.wpd Defendant's Initials: LES,

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Count Statute Maximum sentence per count

3 18 U.S.C. § 2423(b) Imprisonment:30 years
Fine: $250,000.00
Supervised release: Life

3. Minimum sentence must include imprisonment. The sentence for the
offense charged in count 1 may not be satisfied by a term of probation and must include a
period of imprisonment not less than 5 years.

4, Sentencing Guidelines. Defendant understands that federal sentencing law
requires the Court to impose a sentence which is reasonable and that the Court must
consider the advisory U.S. Sentencing Guidelines in effect at the time of sentencing in
determining a reasonable sentence.

5. Special Assessment. Defendant will be required to pay a mandatory
special assessment of $300.00, due immediately upon sentencing.

6. Costs. The Court may order Defendant to pay the costs of prosecution and
sentence, including but not limited to imprisonment, community confinement, home
detention, probation, and supervised release.

7. Restitution. The Court may order Defendant to pay restitution as a
condition of the sentence, probation, and/or supervised release.

8. Violation of Probation/Supervised Release. If Defendant violates any

term or condition of probation or supervised release, such violation could result in a

plea.agreement. wpd Defendant 5 Initials: LBA

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period of incarceration or other additional penalty as imposed by the Court. In some

circumstances, the combined term of imprisonment under the initial sentence and

additional period of incarceration could exceed the maximum statutory term.

ELEMENTS OF THE OFFENSES |

9. The elements of the offenses to which Defendant will plead guilty are:

Count 1: 18 U.S.C. § 2422(b) Coercion and Enticement

One: Defendant knowingly persuaded, induced, enticed, coerced, or attempted to
persuade, induce, entice, or coerce, any individual who has not attained the
age of 18 years old, to engage in prostitution or any sexual activity for which
any person can be charged with a criminal offense; and

Two: Defendant did so by use of the mails or any facility or means of interstate or
foreign commerce, or within the special maritime jurisdiction and territorial
jurisdiction of the United States.

Count 2: 18 U.S.C. § 2241(c) Aggravated Sexual Abuse

One: Defendant crossed a State line; and

Two: Defendant did so with the intent to engage in a sexual act with a person who
had not attained the age of 12 years

Count 3: 18 U.S.C. § 2423(b) Travel with Intent to Engage in Illicit Sexual

Conduct .

One: Defendant knowingly traveled in interstate commerce; and

Two: Defendant did so for the purpose of engaging in any illicit sexual conduct
with another person.

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Defendant’s Initials: LB8,

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GUILTY PLEAS / OTHER CHARGES

10. Agreement to Plead Guilty. Defendant agrees to plead guilty to counts 1,
2 & 3 of the Indictment in this case.

11. Agreement Not to Bring Certain Other Charges. The USAO will not
bring any other criminal charges against Defendant based on facts currently within the
knowledge of the USAO.

FACTUAL BASIS

The parties stipulate to the following facts, which satisfy all of the elements of the
offenses to which Defendant agrees to plead guilty:

12. Between February 14, 2006 and March 28, 2006, Defendant participated in

- communication with an individual whom he thought to be an adult woman with two
daughters, aged twelve and nine, but was in reality an undercover FBI agent. Such
communication consisted of instant message conversations, e-mails, and telephone calls.
During the course of said communications, Defendant repeatedly expressed his desire to
engage in various sexual acts with the individuals he thought to be an adult woman and
her two daughters, aged twelve and nine.

Defendant communicated, via telephone and computer, with undercover FBI

agents posing as the twelve-year-old girl mentioned in paragraph 12, and during such

plea.agreement.wpd : Defendant ’s Initials: LBS 2

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communication, Defendant expressed his desire to engage in sexual activity with both
girls, aged 12 and 9, including sexual intercourse, oral sex, and anal Sex aly

During all the communication described in paragraphf 12 ani Defendant was
in the State of Florida and the undercover FBI agents were in the State of Ohio.

On March 29, 2006, Defendant traveled from the State of Florida to the State of
Ohio for the purpose of engaging in sexual activity with three individuals he thought to be
an adult woman and her two daughters, aged nine and twelve.

Defendant brought several items with him from Florida to Ohio, including, two
Mickey Mouse watches which he had purchased for the children he was to visit, 26
condoms and two bottles of Cialis, an erectile dysfunction medication.

WAIVER OF APPEAL AND POST-CONVICTION ATTACK

13. Defendant acknowledges having been advised by counsel of Defendant's
rights, in limited circumstances, to appeal the conviction or sentence in this case,
including the appeal right conferred by 18 U.S.C. § 3742, and to challenge the conviction
or sentence collaterally through a post-conviction proceeding, including a proceeding
under 28 U.S.C. § 2255. The Defendant expressly waives those rights, except as reserved
below. Defendant reserves the right to appeal: (a) any punishment in excess of the
_ Statutory maximum; (b) any sentence to the extent it exceeds the maximum of the

sentencing range determined under the advisory Sentencing Guidelines in accordance

plea.agreement.wpd : Defendant ’s Initials: Le. cL g

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with the sentencing stipulations and computations in this agreement, using the Criminal
History Category found applicable by the Court. Nothing in this paragraph shall act as a
bar to the Defendant perfecting any legal remedies Defendant may otherwise have on
appeal or collateral attack respecting claims of ineffective assistance of counsel or
prosecutorial misconduct.
SENTENCING STIPULATIONS AND AGREEMENTS

14. ° Stipulated Guideline Computation. The parties agree that the following
calculation represents the correct computation of the applicable offense level in this case,
prior to any adjustment for acceptance of responsibility. The parties agree that no other

Sentencing Guideline adjustments apply.

Counts 1 & 3 Guideline § 2G1.3 .

Base offense level 24 | § 2G1.3(a)
Use of Computer +2 | § 2G1.3(b)(3)
Subtotal 26

Counts 2 Guideline § 2A3.1

Base offense level 30 | § 2A3.1(a)
Victim under 12 . +4 | § 2A3.1(b)(2)(A)
Use of Computer +2 | § 2A3.1(b)(6)(b)

plea.agreement.wpd_ Defendant ’s Initials: Le 5; a

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Subtotal 36

Multiple Count Adjustment Guideline § 3D1.4

Highest Group Offense Level 36

Plus: Increase for Multiple Count Adjustment 0

Total Offense Level before Acceptance of Responsibility 36

15. Acceptance of Responsibility. The USAO has no reason to believe at this
time that Defendant has not clearly and affirmatively accepted personal responsibility for
Defendant’s criminal conduct. Defendant understands, however, that the Court will
determine acceptance of responsibility based on Defendant’s overall conduct as of the
date of sentencing.

16. Criminal History Category. The parties have no agreement as to the
Criminal History Category applicable in this case. Defendant understands that the
Criminal History Category will be determined by the Court after the completion of a Pre-
Sentence Investigation by the U.S. Probation Office.

17. Special Conditions of Supervised Release or Parole.

A) Defendant shall consent to the U.S. Probation Office conducting periodic
unannounced examinations of his computer system(s), which may include retrieval and
copying of all memory from hardware/software and/or removal of such system(s) for the

purpose of conducting a more thorough inspection and will consent to having installed on

plea.agreement.wpd Defendant ’S Initials: LE 6 S.

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his computer(s), at his expense, any hardware/software to monitor his computer use or
prevent access to particular materials. Defendant hereby consents to periodic inspection
of any such installed hardware/software to insure it is functioning properly. Defendant
shall provide the U.S. Probation Office with accurate information about his entire
computer system (hardware/software); all passwords used by him; and his Internet
Service Provider(s): and will abide by all rules of the Computer Restriction and
Monitoring Program. Defendant shall submit to his person, residence place of business,
computer, and/or vehicle, to a warrantless search conducted and controlled by the United
States Probation Office at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of release.
Failure to submit to a search may be grounds for revocation. Defendant shall inform any
other residents that the premises and his computer may be subject to a search pursuant to
this condition.

B) Defendant shall not associate or have verbal, written, telephone, or
electronic communication with any person under the age of 18 except (1) in the presence
of the parent or legal guardian of said minor and (2) on the condition that Defendant

notifies said parent or legal guardian of his conviction in the instant offense. This

provision does not encompass persons under the age of 18, such as waiters, cashiers,

plea.agreement.wpd Defendant’s Initials: ES.

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ticket vendors, etc., with whom Defendant must deal in order to obtain ordinary and usual
commercial services.

Defendant shall not associate, in person or in any other manner, with any
individual who has a sexual interest in or attraction to minors (persons under the age of
eighteen), nor shall he correspond with any such individual, without the prior express
written approval of the probation officer.

Defendant shall not seek, obtain or maintain any residence, employment, volunteer
work, church or recreational activities involving minors (persons under the age of 18) in
any way, without the prior express written approval of the probation officer.

Defendant shall not reside within direct view of school yards, parks, public
swimming pools, playgrounds, youth centers, video arcade facility, or other places
primarily used by persons under the age of 18.

Defendant’s residence and employment shall be approved by the probation officer,
and any change in residence and/or employment must be approved by the probation
officer. Defendant shall submit any proposed changes to residence and/or employment to

_ the probation officer at least 20 days prior to any intended changes.

Defendant shall not frequent or loiter within 100 feet of schoolyards, playgrounds,

theme parks, arcades, swimming pools, skating rinks, toy stores and other places where

plea,agreement.wpd Defendant ’s Initials: K j A,

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persons under the age of 18 play, congregate, or gather, without the prior express written
approval of the probation officer.

Defendant will comply with all applicable requirements to register as a sexual
offender.

At the direction of the probation officer, Defendant shall participate in an
outpatient mental health program, including treatment for sexual deviancy, which may
include polygraph testing.

OTHER PROVISIONS

18. Agreement Silent as to Matters Not Expressly Addressed. This
agreement is silent as to all aspects of the determination of sentence not expressly
addressed herein, and the parties are free to advise the Court of facts and to make
recommendations to the Court with respect to all aspects of sentencing not agreed to
herein.

19. Sentencing Recommendations Not Binding on the Court. Defendant
understands that the recommendations of the parties will not be binding upon the Court,
that the Court alone will decide the applicable sentencing range under the advisory
Sentencing Guidelines, whether there is any basis to depart from that range or impose a
sentence outside of the Guidelines, and what sentence to impose. Defendant further

understands that once the Court has accepted Defendant’s guilty plea(s), Defendant will

plea.agreement.wpd Defendant’s Initials: - £33

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not have the right to withdraw such plea(s) if the Court does not accept any sentencing
recommendations made on Defendant’s behalf or if Defendant is otherwise dissatisfied
with the sentence.

20. Consequences of Breaching the Plea Agreement. Defendant understands
that if Defendant breaches any promise in this agreement or if Defendant’s guilty plea(s)
or conviction in this case are at any time rejected, vacated, or set aside, the USAO will be ©
released from all of its obligations under this agreement and may institute or maintain any
charges and make any recommendations with respect to sentencing that would otherwise
be prohibited under the terms of the agreement. Defendant understands, however, that a
breach of the agreement by Defendant will not entitle Defendant to withdraw, vacate, or
set aside Defendant’s guilty plea(s) or conviction.

21. Agreement not Binding on other Jurisdictions and Agencies. Defendant
understands that this plea agreement is binding only on the United States Attorney's
Office for the Northern District of Ohio (USAO). It does not bind any other United
States Attorney, any other federal agency, or any state or local government.

22. Defendant is Satisfied with Assistance of Counsel. Defendant makes the
following statements: I acknowledge receiving the assistance of counsel from attorney
John S. Pyle concerning this plea agreement. I have fully discussed with my attorney all

of my Constitutional trial and appeal rights, the nature of the charges, the elements of the

plea.agreementwpd Defendant's Initials: LE A

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offenses the United States would have to prove at trial, the evidence the United States
would present at such trial, the Sentencing Guidelines, and the potential consequences of
pleading guilty in this case. I have had sufficient time and opportunity to discuss all
aspects of the case in detail with my attorney and have told my attorney everything I
know about the charges, any defense that I may have to those charges, and all personal
and financial circumstances in possible mitigation of sentence. My attorney has done
everything I have asked my attorney to do and I am satisfied with the legal services and
advice provided to me by my attorney and believe that my attorney has given me
competent and effective representation.

23. Agreement Is Complete and Voluntarily Entered. Defendant and
Defendant’s undersigned attorney state that this agreement constitutes the entire
agreement between Defendant and the USAO and that no other promises or inducements
have been made, directly or indirectly, by any agent or representative of the United States
government concerning any plea to be entered in this case. In particular, no promises or
agreements have been made with respect to any actual or prospective civil or
administrative proceedings or actions involving Defendant, except as expressly stated
herein. In addition, Defendant states that no person has, directly or indirectly, threatened
or coerced Defendant to do or refrain from doing anything in connection with any aspect

of this case, including entering a plea of guilty.

plea.agreement.wpd Defendant's Initials: LE ¢

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SIGNATURES

Defendant: I have read this entire plea agreement and have discussed it with my
attorney. I have initialed each page of the agreement to signify that I have read,
understood, and approved the provisions on that page. I am entering this agreement
voluntarily and of my own free will. No threats have been made to me, nor am I under
the influence of anything that could impede my ability to understand this agreement.

Birk WU. Searhing Cligiog
BRAD W. STEILING Date

Defense Counsel: I have read this plea agreement and concur in Defendant
pleading in accordance with terms of the agreement. I have explained this plea agreement
to Defendant, and to the best of my knowledge and belief, Defendant understands the

agreement.
Alls Yc 6-(1-0OL

John S. Pyle, Date

United States on s Office: I accept and agree to this plea agreement on

behalf of fhe United Statey Attorney for the Northern District of Ohio.
i Glizla

ail’, A. Sullivan” Date
Assistant U. S. Attorney (#0064338)

United States Court House

801 West Superior Avenue, Suite 400

Cleveland, Ohio 44113-1852

(216) 622-3977; (216) 522-2403 (facsimile)
E-mail:Michael.A.Sullivan@usdoj.gov

APPROVED:
‘iad Th [00

David D. Dowd, Ir Date
UNITED STATES DISTRICT JUDGE

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